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 4
     Attorney for defendant
 5   FERNANDO ACOSTA
 6

 7

 8                        UNITED STATES DISTRICT COURT

 9                      EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,           No.   2:15-CR-00102-GEB

12                 Plaintiff,

13        v.                               STIPULATION AND PROPOSED ORDER
                                           FOR EXONERATION OF BOND AND
14   HERRERA et. al.,                      RECONVEYANCE

15                 Defendants.

16

17        The defendant, FERNANDO ACOSTA, by and through his

18   undersigned counsel and the United States by and through its

19   undersigned counsel, hereby agree and request an order to

20   exoneration his bond and reconvey the deed of trust for the

21   property securing that bond.

22        On April 24, 2015 a Complaint was filed charging Mr. Acosta

23   and multiple co-defendants with conspiracy to distribute and

24   possess with intent to distribute heroin in violation of 21

25   U.S.C. §§ 846, 841(a)(1) and possession with intent to distribute

26   heroin in violation of 21 U.S.C. § 841(a)(1).

27        On April 28, 2015 Mr. Acosta was released on a $100,000

28   unsecured bond co-signed by his sister, Diana Acosta; a $50,0000
                                          1
      Case 2:15-cr-00102-KJM Document 155 Filed 06/19/18 Page 2 of 3


 1   unsecured appearance bond co-signed by his stepfather, Bernard
 2   Cooney and a $100,000 bond secured by all available equity in the
 3   residentiary property in Perris, CA owned by Diana Acosta with
 4   the remainder secured by the unsecured bond.
 5        On July 28, 2017, Mr. Acosta plead guilty to count 1s of the
 6   superseding information, which was filed on July 31, 2017,
 7   pursuant to a plea agreement.      Count 1 of the Superseding
 8   Information charged Mr.     Acosta with conspiracy to distribute and
 9   to possess with intent to distribute herion.
10        On January 5, 2018, the Court sentenced Mr. Acosta to 46
11   months imprisonment and 12 months supervised release and ordered
12   him to pay a $100 special assessment.
13        As a result, Mr.     Acosta now applies for an order to
14   exonerate the bond and reconvey the deed of the property securing
15   that bond back to Ms. Acosta.
16   Dated: June 15, 2018                     McGREGOR SCOTT
                                              United States Attorney
17
                                              /s/ Amanda Beck
18                                            AMANDA BECK
                                              Assistant U.S. Attorney
19

20                                            /s/ Timothy Delgado
                                              TIMOTHY DELGADO
21                                            Assistant U.S. Attorney
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23   Dated: June 15, 2018                     /s/ Shari Rusk
                                              SHARI RUSK
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                                              Counsel for defendant
25                                            FERNANDO ACOSTA
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      Case 2:15-cr-00102-KJM Document 155 Filed 06/19/18 Page 3 of 3


 1                                     ORDER
 2        It is hereby ordered that the property bond securing
 3   defendant Fernando Acosta’s release in the above-captioned case
 4   be exonerated and that deed for the property located at 729
 5   Abelia Lane, Perris, CA 92571 be reconveyed back to Diana Acosta.
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 7   Dated: June 18,2018
                                              HON. EDMUND F. BRENNAN
 8                                            U.S. MAGISTRATE JUDGE
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